      Case 3:25-cv-02397-VC         Document 74   Filed 05/16/25   Page 1 of 12



BENBROOK LAW GROUP, PC
Bradley A. Benbrook (SBN 177786)
Stephen M. Duvernay (SBN 250957)
701 University Avenue, Suite 106
Sacramento, CA 95825
Telephone: (916) 447-4900
brad@benbrooklawgroup.com

STONE HILTON PLLC
Judd E. Stone II *
Christopher D. Hilton *
Ari Cuenin *
Michael R. Abrams *
Elizabeth Brown Fore (SBN 200471)
Alexander M. Dvorscak *
Cody C. Coll *
600 Congress Ave., Suite 2350
Austin, TX 78701
Telephone: (737) 465-7248
judd@stonehilton.com
chris@stonehilton.com
ari@stonehilton.com
michael@stonehilton.com
elizabeth@stonehilton.com
alex@stonehilton.com
cody@stonehilton.com
* Admitted pro hac vice

                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                          SAN FRANCISCO DIVISION

MEDIA MATTERS FOR AMERICA,
ANGELO CARUSONE, and ERIC
HANANOKI,                                    Case No.: 3:25-cv-02397-VC

                   Plaintiffs,               DEFENDANTS X CORP., TWITTER
                                             INTERNATIONAL UNLIMITED CO.,
      v.                                     and TWITTER ASIA PACIFIC PTE.
                                             LTD.’s REPLY IN SUPPORT OF
X CORP., TWITTER INTERNATIONAL               MOTION TO STAY
UNLIMITED CO., and TWITTER ASIA
PACIFIC PTE. LTD.,

                   Defendants.
        Case 3:25-cv-02397-VC          Document 74        Filed 05/16/25       Page 2 of 12




     Plaintiffs “waited to learn which way the wind was blowing before requesting transfer” as part

of their “pattern of gamesmanship.” ECF 190 at 9, X Corp. v. Media Matters, No. 4:23-cv-01175-O

(N.D. Tex. filed May 2, 2025) (“Waiver Order”). This Court’s anti-suit injunction rewards that

gamesmanship. It should be stayed for that reason alone. The Court should stay its injunction for

other reasons, too. The order enjoining the Irish case rests upon a misunderstanding of the status

of that litigation. Plaintiffs are unlikely to prevail in suing Twitter International Unlimited Co.

(“TIUC”) and Twitter Asia Pacific Pte. Ltd. (“TAP”) for breaching a contract those entities never

signed. Plaintiffs also failed to satisfy the equitable and public-interest factors necessary for an

injunction. And nothing raised in Plaintiffs’ response, ECF 67, changes these conclusions.

I.      Avoiding the Irreparable Harm Caused by Interference with Foreign Proceedings
        Warrants a Stay Pending Appeal.
     This Court’s injunction “rest[s] upon an erroneous view of the law” and “a clearly erroneous

view of the facts.” Microsoft Corp. v. Motorola, Inc., 696 F.3d 872, 889 (9th Cir. 2012). If any

court should consider Plaintiffs’ belated invocation of X Corp.’s forum-selection clause (“FSC”)

as to TIUC as a basis for halting the 18-month-old proceedings in Ireland, it should be the High

Court of Ireland. A stay prevents irreparable harm to TIUC from interference with that process.

     This Court recognized “Media Matters’s delay” in suing and “invoking the forum selection

clause is relevant to” all aspects of its request for a foreign anti-suit injunction. ECF 56 at 1. The

Court excused Plaintiffs’ delay as a mere oversight, id. at 1-2, but that was wrong. Plaintiffs

admitted they made “a considered decision” not to invoke the FSC in the foreign cases and instead

to rely solely on “forum non conveniens” in those proceedings. ECF 58 at 10:15-20. Indeed,

Plaintiffs did the same thing in Ireland as in Texas where, as Judge O’Connor recently held,

Plaintiffs waived the FSC by litigating other issues for 18 months while citing (but never invoking)

the clause.

     In December 2023, and about a week after X Corp. sued in Texas, TIUC brought Irish-law

defamation and malicious-falsehood claims against Media Matters in the High Court of Ireland.

ECF 40-9 ¶¶ 3-6; see also ECF 1-6; ECF 16-26. In January 2024, Media Matters entered a



                                                  1
        Case 3:25-cv-02397-VC              Document 74     Filed 05/16/25      Page 3 of 12




conditional appearance and expressed an intent to challenge the court’s jurisdiction on forum non

conveniens grounds. ECF 40-9 ¶¶ 5, 7-11. As Plaintiffs’ counsel has stated, Media Matters

intentionally chose to emphasize forum non conveniens instead of pressing an argument based on

the FSC in X Corp.’s (but not TIUC’s) TOS because of “a considered decision to make the best

arguments . . . geared to th[at] particular jurisdiction[].” ECF 58 at 10:16-18. And, if anything, that

candid admission undersold things. Media Matters was plainly aware of the FSC, as—just as in

the Texas case—it adverted to the TOS multiple times in the Irish litigation. See ECF 40-9 ¶¶ 29-

35. Yet, just as is in the Texas litigation, Media Matters chose not to press the clause as a basis for

dismissal or transfer in the Irish case.

    Even now Plaintiffs (at 1) do not dispute they strategically avoided the FSC argument “[i]n the

foreign actions.” ECF 58 at 10:15. That admission eliminates the factual basis for the anti-suit

injunction. It also confirms the need for a second look. After all, it would be “an abuse of

discretion” to “override” the resulting waiver. Wood v. Milyard, 566 U.S. 463, 472-73 (2012). And

since parties are charged with, at a minimum, constructive knowledge of documents they sign, see

Consol. Edison Co. v. United States, 221 F.3d 364, 371 (2d Cir. 2000) (collecting cases), a party

waives a contractual right even when counsel “simply misse[s]” it, ECF 56 at 2. Regardless of the

reason that Plaintiffs sat on their supposed rights under the FSC, they have relinquished them.

    Plaintiffs also misled the Court into distinguishing the Irish and Singaporean litigation based

on the view that “the parties” in Ireland “haven’t filed their briefs on Media Matters’s jurisdictional

challenge” there, but “in the Singapore case, the parties have filed their briefs.” Id. 1 Briefing in

Ireland proceeds in two stages: parties first submit extensive briefing on the facts (and, here,

exchange multiple expert-witness reports), before moving to a second round of briefing on the law.

Here, the parties were almost done with factual briefing after multiple, detailed submissions on

Media Matters’ forum non conveniens motion and were ready to proceed to legal briefing. See

ECF 40-9. Indeed, the High Court of Ireland had initially resolved to list the jurisdictional motion

1
 Although the Court correctly declined to enjoin the Singaporean proceedings, Plaintiffs (at 3) do
not disclaim an intent to cite this Court’s antisuit injunction to influence those proceedings.

                                                  2
         Case 3:25-cv-02397-VC         Document 74        Filed 05/16/25      Page 4 of 12




before the court well in advance of when Plaintiffs filed this lawsuit, id. ¶¶ 12-14, but Media

Matters repeatedly kicked the can down the road with extensions, see id. ¶¶ 15-23. And while there

was no court date by the time this Court granted Plaintiffs’ PI motion, that is because the mere

filing of the PI motion here was enough to cause the Irish court to scuttle a hearing scheduled for

the next day. See id. ¶¶ 24-28.

      That the Irish judiciary delayed its hearing out of comity should not redound to Plaintiffs’

benefit. Nor should the fact that those proceedings follow a different course than under the familiar

Federal Rules of Civil Procedure. The Irish court is in the best position to evaluate whether the

eleventh-hour invocation of the FSC is consistent with Plaintiffs’ litigation conduct to date. The

Supreme Court has described “conflict[s]” between equal judicial sovereigns as “unseemly,” e.g.,

Kline v. Burke Const. Co., 260 U.S. 226, 231 (1922), and the Ninth Circuit loathes “the friction

created by the appearance that [a] second court is interfering with the first,” Weiner v. Shearson,

Hammill & Co., 521 F.2d 817, 820 (9th Cir. 1975). Federal courts do not take lightly to efforts by

foreign tribunals “specifically intended to interfere with and terminate” judicial proceedings in US

courts. Laker Airways Ltd. v. Sabena, 731 F.2d 909, 938 (D.C. Cir. 1984). But federal courts can

reasonably expect foreign courts to respect our judicial process only if the respect is mutual. The

Court’s truncated, two-page order on expedited briefing interrupts a year’s worth of ongoing

jurisdictional litigation in Ireland—that disruption alone merits pause. Plaintiffs never explain how

Defendants could possibly counteract resulting harms absent a stay.

II.      Defendants Are Likely to Prevail in Appealing the Preliminary Injunction.
      Defendants are highly likely to succeed on appeal. First, no grounds exist to enjoin TIUC

because it is not bound by X Corp.’s TOS. Second, Plaintiffs’ claims fail on several jurisdictional

and venue grounds. Third, neither equity nor the public interest support an injunction.

      A. Neither foreign Defendant was bound by the X Corp. TOS on which Plaintiffs rely. The

Court’s analysis under E. & J. Gallo Winery v. Andina Licores S.A., 446 F.3d 984 (9th Cir. 2006),

was thus flawed. On the threshold factor—whether Plaintiffs’ bid to invoke the FSC in X Corp.’s

previously effective TOS “is dispositive of the action to be enjoined,” id. at 991—the answer is


                                                 3
       Case 3:25-cv-02397-VC           Document 74        Filed 05/16/25      Page 5 of 12




no. The Court ruled otherwise in deeming TIUC a “third-party beneficiar[y] of [X Corp.’s] Terms

of Service.” ECF 56 at 1. But that is wrong factually, and it is wrong legally, as a third-party

beneficiary “certainly cannot be bound to a contract it did not sign or otherwise assent to,” Comer

v. Micor, Inc., 436 F.3d 1098, 1102 (9th Cir. 2006), and “cannot be sued for breach,” Nat’l Rural

Telcoms. Coop. v. DIRECTV, Inc., 319 F. Supp. 2d 1059, 1068 (C.D. Cal. 2003).

   As an initial matter, the FSC does not control because the Irish suit is not “related to [X Corp.’s

TOS] or the Services.” ECF 1, ¶ 94. Hananoki’s actions on X are neither at issue nor alleged to be

TOS breaches. As Plaintiffs acknowledged in Texas, “X alleges in support of each of its three

causes of action that Defendants’ reporting was false.” ECF 13-1 at 10, X Corp. (emphasis added).

Plaintiffs’ duties not to defame Defendants or interfere with business relationships are not “related

to” their use of the platform. See Croix v. Provident Tr. Grp., 2019 WL 6716066, at *3 (W.D. Tex.

Dec. 9, 2019), R&R adopted, 2019 WL 11506139 (Dec. 27, 2019) (applying Texas law) (“[A]

party states a tort claim when the duty allegedly breached is independent of the contractual

undertaking and the harm suffered is not merely the economic loss of a contractual benefit.”).

   Plaintiffs (at 4) also misperceive the inquiry as: (1) whether TIUC and TAP are beneficiaries

of the TOS; and (2) whether their foreign tort claims fall within the TOS. Each question should be

answered in the negative, for reasons Defendants already explained. See ECF 65 at 9-10, 14-15.

But Plaintiffs ignore the most essential obstacle: A “third party beneficiary will only be bound by

the terms of the underlying contract where the claims asserted by that beneficiary arise from its

third party beneficiary status.” E.I. DuPont de Nemours & Co. v. Rhone Poulenc Fiber & Resin

Intermediates, S.A.S., 269 F.3d 187, 197 (3d Cir. 2001); see also ECF 63 at 5-6; ECF 65 at 10-11.

   At the time of Plaintiffs’ filing, it is indisputable that TIUC and TAP had not invoked the TOS.

First, they had sued for defamation and related torts—not for contract claims. Second, TIUC and

TAP did not, and could not, enforce the TOS against Plaintiffs in their foreign tort cases. That

should be the end of it. Under California law and contract-interpretation principles, a third-party

beneficiary “can only enforce those promises made directly for his benefit.” Clark v. Cal. Ins.

Guar. Assn., 200 Cal. App. 4th 391, 398 (2011). Here, Plaintiffs suggest only one possible


                                                 4
       Case 3:25-cv-02397-VC           Document 74        Filed 05/16/25      Page 6 of 12




contractual right: a disclaimer of liability. See ECF 67 at 4 (describing disclaimer language and

identifying it as sole benefit). But even assuming the TOS’s disclaimer is a sufficient benefit to

confer third-party-beneficiary status to TIUC and TAP (it is not, see ECF 65 at 9-10), that would

be the only provision TIUC and TAP are allowed to enforce. And there is no way TIUC and TAP

can be considered to have invoked that provision when bringing their tort claims (contra ECF 67

at 6). Moreover, a disclaimer provides no affirmative relief—and since Plaintiffs have not

countersued TIUC or TAP abroad, TIUC and TAP had no occasion to invoke it defensively.

Accordingly, the Court incorrectly held that TIUC and TAP are liable for suit on the TOS.

   B. 1. The Court also lacks personal jurisdiction over TIUC and TAP because neither entity has

contacts with California, let alone any from which Plaintiffs’ claims arise. Ford Motor Co. v. Mont.

Eighth Jud. Dist. Ct., 592 U.S. 351, 359 (2021). Plaintiffs themselves make clear those entities

brought cases in their respective countries for injuries sustained abroad. ECF 16-24 ¶ 43; ECF 16-

26 ¶ 24. There is no “relationship” between this forum and the foreign defendants, who neither

“direct[ed their] activities” to California, nor conducted activities here. Briskin v. Shopify, Inc.,

135 F.4th 739, 758 (9th Cir. 2025) (en banc). Even Plaintiffs admit that TIUC and TAP are “at

home” abroad, without California connections of their own. ECF 1 ¶¶ 22-23.

   Defendants’ conduct in this litigation cannot provide a basis for personal jurisdiction in

California, which is evaluated at the time of filing. E.g., 4 WRIGHT & MILLER, FEDERAL PRACTICE

& PROCEDURE § 1051 at 161-62. Basing jurisdiction on post-filing actions would strip individuals

of “fair warning that a particular activity may subject them to the jurisdiction of a foreign

sovereign.” Steel v. United States, 813 F.2d 1545, 1549 (9th Cir. 1987) (cleaned up). Plaintiffs are

therefore wrong to suggest (at 4) that TIUC and TAP’s invocation of the limitation on liability in

this California litigation provides the needed hook, because it necessarily occurred after filing as

an alternative argument for why Plaintiffs’ suit fails. That Defendants have raised the $100

damages cap as one of many reasons for dismissing Plaintiffs’ meritless suit changes nothing and

waives nothing; it provides no basis for Plaintiffs to haul TIUC and TAP into this Court in the first

place. See Fed. R. Civ. P. 12(b) (“No defense or objection is waived by joining it with one or more


                                                 5
        Case 3:25-cv-02397-VC          Document 74        Filed 05/16/25       Page 7 of 12




other defenses or objections in a responsive pleading or in a motion.”); see also Mundinger v.

Wells Fargo Bank, 2011 WL 1559423, at *3 (D. Ariz. Apr. 25, 2011) (holding alternative

arguments not waived).

    Plaintiffs’ other personal-jurisdiction arguments fail. They are wrong (at 4) that TIUC and TAP

made a representation in the contract; only signatories make contractual representations, and

Plaintiffs have no contrary authority. Plaintiffs are wrong (at 7) that jurisdiction is proper because

“it was TIUC and TAP that first sued Media Matters” and that the FSC is broad, as they ignore the

ample caselaw requiring a beneficiary’s actual invocation of a contract, not just any lawsuit. See

Dupont, 269 F.3d at 197; ECF 63 at 5-6. And they are wrong (at 7) that merely because X Corp.

officers can enforce X Corp.’s TOS, affiliated entities like TIUC or TAP may do so.

    In tacit acknowledgment of the weakness of their position, Plaintiffs have concocted new,

equally meritless theories. They now (at 7) raise an agency argument that is unbriefed and absent

from their Complaint and preliminary injunction briefing. See ECF 1, 16, 50. It also does no

apparent work apart from their alter-ego “argument” (at 8), which is similarly unbriefed and

unavailing. See ECF 51 at 10-11; ECF 63 at 6-7. Nor do Plaintiffs overcome Defendants’

explanation of why the alternative “closely related” argument fails: whether or not they are closely

related to X Corp., TIUC and TAP are not “closely related” to X Corp.’s TOS. 2

    2. Plaintiffs fail to establish the amount-in-controversy requirement for diversity jurisdiction.

Plaintiffs base the amount in controversy on the total damages sought abroad. But Plaintiffs seek

only to move litigation to California—not avoid foreign damages. ECF 16 at ¶ 5. Plaintiffs’ suit

concerns a contract capping damages at $100, which is $74,900 below 28 U.S.C. § 1332’s

threshold. Because Plaintiffs seek to wield the TOS’s FSC, equitable estoppel “precludes” them

from “simultaneously attempting to avoid” the clause limiting damages to $100. Comer, 436 F.3d

2
 Plaintiffs attack Firexo, Inc. v. Firexo Group, 99 F.4th 304 (6th Cir. 2024), for focusing on the
due-process problems in applying “closely related” doctrine. But courts cannot ignore due process,
and Plaintiffs cannot escape cases like Wescott v. Reisner, 2018 WL 2463614 (N.D. Cal. June 1,
2018); Mewawalla v. Middleman, 601 F. Supp. 3d 574 (N.D. Cal. 2022), and Pestmaster Franchise
Network, Inc. v. Mata, 2017 WL 1956927 (N.D. Cal. May 11, 2017), which reflect that TIUC and
TAP never consented to a California forum. See ECF 51 at 7-9; ECF 63 at 7-8.

                                                  6
        Case 3:25-cv-02397-VC           Document 74        Filed 05/16/25      Page 8 of 12




at 1101. Plaintiffs claim they satisfy § 1332 by (1) broad calculations of the value of the injunction,

(2) considering attorneys’ fees Plaintiffs spent on the foreign actions, and (3) disclaiming

application of X’s limitation of liability as unconscionable. ECF 67 at 14-17. They are wrong.

   First, Plaintiffs’ inclusion of foreign damages in the amount in controversy calculation (ECF

37 at 15) rests solely on Cisco Sys., Inc. v. GTEC., 2011 WL 13253336, at *2 (N.D. Cal. Sept. 27,

2011). But there, Cisco pleaded that a contract action pending abroad sought more than $13 million

in damages, far exceeding what could be claimed under California law. Id.; see Complaint (ECF

1 at ¶ 20), Cisco Sys., Inc. v. GTEC, No. 5:10-CV-04960-EJD (N.D. Cal. filed Nov. 2, 2010). The

amount in controversy sufficed because the injunction would have prevented the foreign defendant

from recovering the $13 million sought abroad, which was unavailable in California. Cisco Sys.,

2011 WL 13253336, at *2. Here, Plaintiffs falsely claim “an injunction barring prosecution of

[foreign suits] eliminates X’s ability to pursue those amounts.” ECF 67 at 14. But Plaintiffs have

not argued, as in Cisco, that the damages claimed in Ireland (for lost revenue) are unavailable in

California. Indeed, by invoking the doctrine of forum non conveniens as a basis to avoid the

jurisdiction of the Irish courts, Plaintiffs take the position in the Irish litigation that TIUC’s

damages may be claimed elsewhere. See ECF 40-9 ¶ 10-11. At another juncture, Plaintiffs

characterize “the value of the specific object of this litigation” as ensuring “any litigation arising

from the same conduct proceeds in the proper forum.” ECF 16 at 5. As in Westlake Vinyls, Inc. v.

Goodrich Corp., enforcement of a FSC, unlike a covenant not to sue, does not seek to avoid

litigation costs and liability; it merely “plac[es] the litigation in an agreed-upon forum.” 2014 WL

2816070, at *4 (W.D. Ky. June 23, 2014). So whether TIUC or TAP actually refiles is beside the

point. Contra ECF 67 at 15.

   Plaintiffs are not helped (at 15) by Griggs v. Credit Solutions of America, Inc., 2009 WL

911420, at *3 (E.D. Mo. Mar. 31, 2009). Griggs rejected the inclusion of an arbitration award in

the amount-in-controversy because the object of litigation, a declaratory judgment permitting class

arbitration, did not involve the damages at issue in the underlying suit. Id. Enforcing the FSC here

at most effects a transfer of the foreign suits—it would not bar liability.


                                                  7
        Case 3:25-cv-02397-VC           Document 74        Filed 05/16/25      Page 9 of 12




   Second, Plaintiffs cannot repackage attorneys’ fees as consequential damages. Contra ECF 67

at 15. As Plaintiffs’ authority shows, consequential damages for breach of contract are awarded

only in limited cases, when relief is authorized by statute. See Platte Anchor Bolt, Inc. v. IHI, Inc.,

352 F. Supp. 2d 1048, 1058 (N.D. Cal. 2004) (citing Cal. Civ. Proc. Code § 1021.6). Plaintiffs (at

16 n.3) cite dicta in Prakash Jones v. Morris+D’Angelo as permitting recovery of fees incurred in

another action. 2024 WL 4428980 (N.D. Cal. Oct. 4, 2024). But Prakash Jones relied on Microsoft,

795 F.3d at 1051-52, which is inapposite because it rests on distinguishable public-interest

considerations. Plaintiffs can claim no public-interest grounds, as a federal court has already found

the underlying claims legally plausible and allowed them to proceed to discovery. See X Corp. v.

Media Matters, 2024 WL 4001803, at *6-8 (N.D. Tex. Aug. 29, 2024). That the fees were incurred

in connection with other cases is unavailing for Plaintiffs. ECF 67 at 16. Plaintiffs cannot claim

consequential damages because Media Matters is unprotected by the FSC, because TIUC and TAP

were not bound by it, and because neither Carusone nor Hananoki were parties in the foreign

litigation. Cf. ECF 1-3; ECF 16-26. And even if consequential damages were available, that

adequate remedy precludes injunctive relief.

   Third, X’s limitation of liability is not unconscionable and bars any award over $100 for breach

of the TOS, therefore depriving this court of jurisdiction. See ECF 61 at 11-12; ECF 63 at 3-4.

Caps for breach of contract claims are regularly held conscionable under California law. See

Adkins v. Facebook, Inc., 2019 WL 3767455, at *2 (N.D. Cal. Aug. 9, 2019) (upholding

Facebook’s limitation); see also Darnaa, LLC v. Google, Inc., 2015 WL 7753406, at *2 (N.D. Cal.

Dec. 2, 2015); Price v. Apple, Inc., 2023 WL 2671378, at *4 (N.D. Cal. Mar. 28, 2023). Plaintiffs’

cases (at 16) change nothing because they address limitations on types of liability other than breach

of contract, see Geographic Expeditions, Inc. v. Estate of Lhotka, 599 F.3d 1102, 1108 (9th Cir.

2010) (negligence); Leo India Films Ltd. v. GoDaddy.com LLC, 2022 WL 836812, at *1 (D. Ariz.

Mar. 21, 2022) (fraud and bad faith), or address a special business relationship absent here, Bridge

Fund Capital Corp. v. Fastbucks Franchise Corp., 622 F.3d 996, 1004 (9th Cir. 2010) (franchisee-

franchisor). Plaintiffs’ chief complaint (at 17) is that the limitation is one-sided because X sued


                                                  8
       Case 3:25-cv-02397-VC           Document 74        Filed 05/16/25       Page 10 of 12




them for over $100 yet capped Plaintiffs’ recovery at $100 for breach of contract. But, again,

Defendants’ claims do not invoke the TOS. The TOS’s FSC and cap don’t apply to claims for

Plaintiffs’ deliberate interference with advertiser relationships. ECF 40 at 21-24.

   3. Venue is also improper in this District. If this case is heard, it should be transferred to the

Northern District of Texas—where the parties have been litigating the same underlying issues for

almost two years now—pursuant to 28 U.S.C. §1404(a). That is also the forum selected in the TOS

on the date Plaintiffs filed this suit, and thus controls. ECF 63 at 9-10; ECF 65 at 2, 14. Defendants

are not applying the TOS “retroactive[ly],” ECF 67 at 12, because the FSC pointing to Texas was

already effective before Plaintiffs filed suit, so that is no basis to distinguish cases like

TradeComet.com LLC v. Google, Inc., 693 F. Supp. 2d 370, 375 (S.D.N.Y. 2010). Plus, a central

question here—“whether Media Matters forfeited its right to assert the forum selection clause” by

“waiting so long” to raise it—was squarely presented in the Texas case. ECF 28 at 5-6. And it has

now been squarely resolved by that court. See Waiver Order at 5-9. Letting Plaintiffs relitigate the

issue they just lost in Texas would waste resources and risk inconsistent judgments.

   C. Plaintiffs failed to satisfy the requirements for an antisuit injunction. Contra ECF 67 at 12-

15. Their failure to show irreparable harm, or that equities and the public interest favor an

extraordinary foreign anti-suit injunction, supplies an independent reason to stay the order. The

Court gave two reasons for enjoining “the Ireland case,” which TIUC has been litigating against

Media Matters for 18 months: (1) Plaintiffs allegedly “simply missed th[e] issue”; and (2) “the

parties” in Ireland “haven’t filed their briefs on Media Matters’s jurisdictional challenge” there.

ECF 56 at 1-2. It is doubtful that a failure to issue-spot ever warrants extraordinary equitable relief

that implicates serious comity concerns. But as discussed above, neither ground is correct.

   Plaintiffs thus did not just fail to timely assert a right. Contra ECF 67 at 3. They made “a

considered decision” to pursue other arguments instead. And while courts may excuse forfeiture

if justice demands (and justice does not demand it here), they may not excuse waiver. It is “‘an

abuse of discretion’ for a court ‘to override’” a “deliberate waiver.” Wood, 566 U.S. at 472-73.

Resurrecting an argument a party has affirmatively relinquished would “depart from the principle


                                                  9
       Case 3:25-cv-02397-VC           Document 74         Filed 05/16/25      Page 11 of 12




of party presentation basic to our adversary system.” Id. at 472. Indeed, Plaintiffs’ acts also extend

to laches, “an equitable defense that prevents a plaintiff, who ‘with full knowledge of the facts,

acquiesces in a transaction and sleeps upon his rights.’” Danjaq LLC v. Sony Corp., 263 F.3d 942,

951 (9th Cir. 2001). Both “unreasonable delay” and “prejudice” are consequently present here.

Couveau v. Am. Airlines, Inc., 218 F.3d 1078, 1084 (9th Cir. 2000). Not once before it filed this

lawsuit in March of 2025 did Plaintiffs even hint in the Irish case that they thought a contractual

provision in the X Corp. TOS required litigating in California. For good reason: it does not. And

merely filing this lawsuit led the Irish court to push off a scheduled court date indefinitely, stalling

the litigation. ECF 40-9 ¶¶ 23-28.

   Judge O’Connor also found waiver and that Plaintiffs’ actions suggestive of “gamesmanship”

severely prejudiced X Corp. Waiver Order at 9. Neither equity nor the public interest favor

rewarding such conduct. Contra ECF 67 at 13-14. The same analysis applies to the foreign

litigation. Indeed, given that Irish proceedings have been ongoing since 2023, the place to assert

the FSC (even belatedly) was Ireland. Yet Plaintiffs obtained a windfall from their chicanery.

III.   The Equities and Public Interest Favor a Stay, Which Will Not Harm Plaintiffs.
   The equities and public interest favor Defendants for the reasons herein and in the pending

Special Motion to Strike, ECF 68, which Defendants incorporate fully by reference. As noted

above, waiver and laches indicate Plaintiffs are unlikely to prevail in asserting the contractual

rights they now invoke against Defendants, particularly because holding a party to an FSC

typically presupposes an opponent timely invoked it. Moreover, interference with the Irish judicial

system undermines the mutual respect for coordinate sovereigns that disserves the public interest,

see supra Part I, so Plaintiffs cannot dispute that a stay pending appeal serves the public interest.

Nor can Plaintiffs show harm from a stay because Irish courts provide an avenue for Media Matters

to seek fee-shifting. Veolia Water UK PLC v. Fingal Cnty. Council [2006] IEHC 240 ¶2.5 (Ir.),

https://perma.cc/4UR5-TR3K.




                                                  10
      Case 3:25-cv-02397-VC        Document 74       Filed 05/16/25      Page 12 of 12



      Dated: May 16, 2025.                     Respectfully submitted.

                                               /s/ Christopher D. Hilton
                                               Judd E. Stone II *
                                               Christopher D. Hilton *
                                               Ari Cuenin *
                                               Michael R. Abrams *
                                               Elizabeth Brown Fore
                                                 SBN 200471
                                               Alex M. Dvorscak *
                                               Cody C. Coll *
                                               STONE HILTON PLLC
                                               600 Congress Ave., Suite 2350
                                               Austin, TX 78701
                                               Telephone: (737) 465-7248
                                               judd@stonehilton.com
                                               chris@stonehilton.com
                                               ari@stonehilton.com
                                               michael@stonehilton.com
                                               elizabeth@stonehilton.com
                                               alex@stonehilton.com
                                               cody@stonehilton.com
                                               * Admitted pro hac vice


                                               /s/ Bradley A. Benbrook
                                               Bradley A. Benbrook
                                                 SBN 177786
                                               Stephen M. Duvernay
                                                 SBN 250957
                                               BENBROOK LAW GROUP, PC
                                               701 University Avenue, Suite 106
                                               Sacramento, CA 95825
                                               Telephone: (916) 447-4900
                                               brad@benbrooklawgroup.com

                                               Counsel for Defendants


                              CERTIFICATE OF SERVICE
   I hereby certify that this document was served on all counsel of record on May 16, 2025, via

the Court’s CM/ECF system.

                                                  /s/ Christopher D. Hilton
                                                  Christopher D. Hilton




                                             11
